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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division

SONY MUSIC ENTERTAINMENT, et al., )
                                  )
               Plaintiffs,        )
                                              )
       v.                                    )    Civil Action No. 1: 18cv0950 (LO/JFA)
                                             )
COX COMMUNICATIO S, INC., et al.,            )
                                             )
                         Defendants.         )


                                             ORDER

       It appears that the only issue in dispute in the proposed joint discovery plan filed by the

parties on December 12, 2018 (Docket no. 53) has now become the subject of a motion to

compel that has been filed and noticed for a hearing on Friday, December 21, 2018 (Docket nos.

54, 56). Given that the issue of whether the defendants will be required to provide the plaintiffs

with a copy of the trial exhibits from the BMG Rights Management case will be briefed and

argued by the parties and decided on December 21, 2018, counsel for the parties shall confer and

inform the court by noon on Tuesday, December 18, 2018 as to whether they wish to have a

conference with the undersigned on Wednesday, December 19, 2018 at 11 :00 a.m. or whether

they would like the court to adopt parts I-IV of the proposed joint discovery plan without the

need for a conference.

       Entered this 17th day of December, 2018.       _____ /s/
                                                      John F. Anderson
                                                                              :;nc):::
                                                       United States Magistrate Judge
                                                     John F. Anderson
                                                     United States Magistrate Judge
Alexandria, Virginia
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